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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                                        Case No. 11-20551-13

  D-13 AHAB ELMADHOUN,

                Defendant.
                                             /

                      OPINION AND ORDER DENYING
   APPLICATION TO PROCEED IN FORMA PAUPERIS ON APPEAL AND REQUEST
                    FOR COURT-APPOINTED ATTORNEY

         Before the court is Defendant Ahab Elmadhoun’s application for leave to appeal

  in forma pauperis (Dkt. # 1260) and his request for a court appointed attorney (Dkt.

  # 1261). Federal Rule of Appellate Procedure 24(a)(1) provides that a party to a district

  court action who desires to appeal in forma pauperis must file a motion in the district

  court. This motion must include an affidavit that demonstrates “the party’s inability to

  pay or to give security for fees and costs[.]” Fed. R. App. P. 24(a)(1)(A). “The decision

  to grant or deny an application to proceed [in forma pauperis] lies within the sound

  discretion of the district court.” Benson v. Carlton, No. 00-5040, 2000 WL 1648054, at

  *1 (6th Cir. Oct. 26, 2000).

         Similarly, the Criminal Justice Act of 1964 provides that “[r]epresentation shall be

  provided for any financially eligible person who . . . is charged with a felony[.]” 28

  U.S.C. 3006(A)(a)(1). The statute, however, only requires the court to appoint counsel

  “if satisfied after appropriate inquiry that the person is financially unable to obtain
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  counsel.” Both issues have been fully briefed, and the court concludes that a hearing is

  unnecessary. See E.D. Mich. LR 7.1(f)(2).

         Defendant has filed the standard financial affidavit form as supplied by the United

  States Court of Appeals for the Sixth Circuit. In his application, Plaintiff asserts that he

  is “unemployed” and that the only other income he has received “[i]n the past 12

  months” has come from rental payments from two properties — one that is currently in

  foreclosure, and the other which is subject to a “restraining order on Assets” due to

  divorce proceedings. (Dkt. # 1260, Pg. ID 9898-99.) In total, Defendant claims he has

  “less than $100" total in cash, checking, and savings. (Id. at Pg. ID 9899.)

         Nevertheless, the court finds these claims unpersuasive, especially in light of the

  contradictory evidence in the record. For example, as the government notes in its

  opposition brief, the Presentence Report indicated that Defendant had $111,336 in

  assets, mostly “in the form of real property located in Michigan.” (Dkt. # 1267, Pg. ID

  9943.) Even giving Defendant the benefit of the doubt and discounting the equity in the

  foreclosed ($38,500) and marital homes ($41,500), Defendant should still have $31,336

  in assets. (See Id.; Dkt. # 1260, Pg. ID 9899.) Defendant, himself, admits he has

  $28,000 in equity in an investment property located in London, Ontario, and fails to

  explain why this equity could not be liquidated to pay for appellate costs. (Dkt.

  # 1260, Pg. ID 9899.)

         More importantly, Plaintiff was convicted of illegal drug distribution and money

  laundering, (Dkt. # 797), activities through which he amassed a fortune of $2.4 million

  over the course of three years, most of which he transferred to accounts and real

  property overseas, (Dkt. 1267, Pg. ID 9944). The government has been able to trace

  about $598,048 to the United Arab Emirates, but $1.8 million remain unaccounted for.

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  (Id.) Due to the likelihood that Defendant still has access to these illicitly derived funds,

  the court is not inclined to grant Defendant’s petition.

             IT IS THEREFORE ORDERED that Plaintiff's “Application to Proceed Without

  Prepayment of Fees” (Dkt. # 1260) is DENIED.

             IT IS FURTHER ORDERED that Plaintiff’s “Request for A Court-Appointed

  Attorney” (Dkt. # 1261) is DENIED.


                                                                    s/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE

  Dated: November 9, 2015


  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, November 9, 2015, by electronic and/or ordinary mail.

                                                                    s/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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